                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION


UNITED STATES OF AMERICA                     )
                                             )
v.                                           )        NO. 3:10-00258
                                             )        JUDGE CAMPBELL
MARTIN HERNANDEZ PINELA                      )


                                            ORDER


       Due to interpreter scheduling issues, the sentencing hearing is scheduled back to its

original time of August 16, 2012, at 1:00 p.m.

       IT IS SO ORDERED.



                                                      __________________________________
                                                      TODD J. CAMPBELL
                                                      UNITED STATES DISTRICT JUDGE




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